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United States District Court
Southern District of New York                                             1:19-cv-11242

Dawn Louis, individually and on behalf of
all others similarly situated,
                                     Plaintiff,

                       - against -                                   Class Action Complaint

The Mochi Ice Cream Company,
                                     Defendant

           Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


           1.      The Mochi Ice Cream Company (“defendant”) manufactures, distributes, markets,

labels and sells confections made from mochi (sticky rice) with a purported vanilla ice cream

filling, under their my/mo mochi brand (“Products”).1

           2.      The Products are available to consumers from retail and online stores of third-parties


1
    Wikipedia contributors. "Mochi ice cream." Wikipedia, The Free Encyclopedia. 4 Nov. 2019. Web. 29 Nov. 2019.


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in all fifty states and defendant’s website and are sold in boxes containing 6 pieces of 1.5 FL OZ

(9 FL OZ).

        3.     The “Japanese sticky rice dough” known as mochi “can be traced as far back as the

year 794 A.D.”2

        4.     The dough is “pounded until it becomes a paste” and then molded to the intended

shape and baked.3

        5.     The origins of mochi ice cream however are less exact, with sources citing its

creation in Hawaii, California and Japan.

        6.     This novelty frozen dessert consists of “a ball of ice cream encased in pillowy soft,

rice paste mochi, and dusted with potato or corn starch.”4

        7.     The combination of the cold ice cream and the chewy softness of the mochi

contribute to a unique sweetness and texture.

        8.     Mochi ice cream is unique for reasons not limited to (1) its availability not only in

traditional flavors like vanilla, chocolate and strawberry but in novel flavors like green tea and

mango and (2) it is intended to be eaten with one’s fingers, making it a convenient snack not

requiring a spoon.

        9.     The relevant front label representations include “my/mo,” “Mochi Ice Cream,”

“Premium ice cream wrapped in a sweet, soft dough, “Vanilla Bean” and images of the Products

containing white ice cream and small dark specks representing vanilla beans.




2
  Rachel Seis, This Japanese Ice Cream Is Taking Over. Here’s What You Need to Know., Taste of Home, Jan. 10,
2019.
3
  Brianna Vasquez, Mochi…The Newest Food Trend, The Buzz, City Tech CUNY, Nov. 17, 2016.
4
  Food & Drink Resources, The Asian Ice Cream Trend Is Everything This Summer.


                                                     2
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I.      Vanilla is Perennial Favorite Ice Cream Flavor

        10.    Ice cream is a year-round treat enjoyed by 96% of Americans.5

        11.    Its popularity is attributed “to the perfect combination of elements – sugar, fat, frozen

water, and air – that make up the mouthwatering concoction.”6

        12.    Ice cream is defined by a minimum of 10 percent milkfat, weighing no less than 4.5

pounds to the gallon and containing less than 1.4 % egg yolk solids.7

        13.    Vanilla is the consistent number one flavor for 28% of Americans, confirmed two

groups who would know – the International Dairy Foods Association (IDFA) (ice cream

producers) and National Ice Cream Retailers Association (ice cream parlors).


5
  Arwa Mahdawi, The big scoop: America's favorite ice-cream flavor, revealed, The Guardian, July 11, 2018
6
  Vox Creative, The Reason You Love Ice Cream So Much Is Simple: Science, Eater.com, October 12, 2017.
7
  21 C.F.R. § 135.110(a)(2) (“Ice cream and frozen custard.”).


                                                       3
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        14.     The reasons for vanilla’s staying power are “not only because it is creamy and

delicious, but also because of its ability to enhance so many other desserts and treats.”8

        15.     By some estimates, approximately two-thirds of “all ice cream eaten is either vanilla

or vanilla with something stirred into it, like chocolate chips.”9

        16.     The applications of vanilla ice cream include its centerpiece between chocolate

wafers (“sandwich”), enrobed in chocolate on a stick (“bar”), topping a warm slice of fresh-baked

pie (“à la Mode”), drizzled with hot fudge, sprinkled with crushed nuts and topped by a maraschino

cherry (“sundae”) or dunked in a cold frothy glass of root beer (“float”).10


    A. Philadelphia-style v. French Ice Cream

        17.     In the development of ice cream, the two main types were Philadelphia-style and

French ice cream, flavored of course, with vanilla.

        18.     Like many confections in the United States, ice cream was brought here from France,

courtesy of two statesmen who served as ambassadors to that nation: Thomas Jefferson and Ben

Franklin.

        19.     While these two Founding Fathers could agree on the terms of the Declaration of

Independence and Constitution, they could not agree about the superior type of vanilla ice cream.

        20.     Future President Thomas Jefferson was a partisan of the egg yolk base, describing

this treat as “French ice cream.”11



8
  Press Release, IDFA, Vanilla Reigns Supreme; Chocolate Flavors Dominate in Top Five Ice Cream Favorites Among
Americans, July 1, 2018
9
  Bill Daley (the other one), Which vanilla ice cream is the cream of the crop? We taste test 12 top brands, Chicago
Tribune, July 18, 2018
10
   The True Wonders of Vanilla Ice Cream, FrozenDessertSupplies.com.
11
    Thomas Jefferson’s Handwritten Vanilla Ice Cream Recipe, Open Culture, July 13, 2014; Thomas Jefferson’s
Vanilla Ice Cream, Taste of Home, June-July 2012; Thomas Jefferson’s Original Vanilla Ice Cream Recipe, Jefferson
Papers, Library of Congress; Anna Berkes, “Ice Cream” in Thomas Jefferson Encyclopedia, Thomas Jefferson
Foundation, Inc., Monticello.org, June 28, 2013


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         21.    The egg yolk solids, when mixed with vanilla, distinguish a “French” vanilla ice

cream from its Philadelphia-style counterpart by providing a: 12

                        •    smoother consistency and silkier mouthfeel;

                        •    caramelized, smoky and custard-like taste; and

                        •    deep-yellow color.13


         22.    Due possibly to Jefferson’s efforts at popularizing this variety, ice cream with 1.4%

or more egg yolk solids as part of its base is referred to as “french ice cream.”14

         23.    According to legend, Ben Franklin’s “crème froid” was “one of the earliest recorded

ice cream recipes from the United States,” introduced during the sweltering summer of the

Constitutional Convention of 1787.15

         24.    Ever the inventor, Franklin adapted his ice cream recipe to the situation by relying

on the abundance of dairy farms in the Philadelphia region, the lack of hens to provide an egg yolk

base (compared to their prevalence in pre-Revolutionary France) and foregoing the cooking step

to more quickly deliver batches of this refreshing treat for the delegates.16

         25.    Philadelphia-style and French ice creams also differed in the form of vanilla they

used to provide flavor.

         26.    The French variety used vanilla extract, the liquid created when the flavor molecules



12
   The descriptor “French” or “french” preceding “vanilla” does not modify the word “vanilla.”
13
   Sheela Prakash, What’s the Difference Between Vanilla and French Vanilla Ice Cream?, The Kitchn, June 7, 2017.
14
   21 C.F.R. § 135.110(f)(1) (“The name of the food is ‘ice cream’; except that when the egg yolk solids content of
the food is in excess of that specified for ice cream by paragraph (a) of this section, the name of the food is ‘frozen
custard’ or ‘french ice cream’ or ‘french custard ice cream’.)
15
   Julia Reed, Ice cream two ways: A tale of two continents, King Arthur Flour, Blog, Aug. 24, 2018; but see Jeff
Keys, Ice Cream Mix-ins, N.p., Gibbs Smith (2009) at 14.
16
   Vanilla Ice Cream, Philadelphia-Style, The Perfect Scoop, Epicurious.com, Dec. 2011; Dr. Annie Marshall, Vanilla
Bean Ice Cream Two Ways, and Ice Cream Basics, July 8, 2011, Everyday Annie Blog (“Varieties of ice cream
generally fall into two main categories: Philadelphia-style or French-style. Philadelphia style ice creams are quicker
and simpler, with a heavy cream/milk mixture for the base. French-style ice creams have a custard base, with cooked
egg yolks to help achieve a creamy texture and rich flavor.”).


                                                          5
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of a vanilla bean are extracted by alcohol.17

        27.    The Philadelphia-style relied on the dark brown seeds contained inside vanilla bean

pods which had not been subject to extraction – referred to as “caviar,” “specks” or “flecks.”

              Vanilla Extract                               Vanilla Beans




        28.    Each of these forms of vanilla has its appeal – vanilla beans offer a more intense and

flavor, while vanilla extract wins for ease of use, portability and price.

        29.    Vanilla bean ice cream is expected to contain vanilla extract or vanilla flavoring and

vanilla beans as the only sources of flavoring, and the vanilla beans deliver a more intense and

pure flavor with strong visual appeal through the “specks” of the vanilla beans used.18

        30.    Vanilla extract and vanilla flavoring offer greater portability, consistency, ease of

use and costs less than unexhausted vanilla beans.


17
  21 C.F.R. §§ 169.175 (Vanilla extract.) (at least thirty-five (35) percent ethyl alcohol).
18
   Lisa Weiss and Gale Gand, Chocolate and Vanilla: A Baking Book, United States: Potter/Ten
Speed/Harmony/Rodale (2012) at 113-14; Louisa Clements, Pantry 101: Vanilla extract vs. vanilla beans, Chat Elaine,
Nov. 30, 2015; David Lebovitz, The Perfect Scoop: Ice Creams, Sorbets, Granitas, and Sweet
Accompaniments. United States: Potter/TenSpeed/Harmony (2011) at 26.


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        31.    Vanilla ice cream provides a subtle and smoother vanilla taste, with a tan-orange hue

evoking the colors of true vanilla extract (similar to caramel in color) and the rich shades of yellow,

consistent with butter and milkfat produced by this country’s dairy cattle.

        32.    In the best tradition of American compromise, the majority of ice cream today is

made in the Philadelphia-style, but flavored with vanilla extract.


II.     Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand

        33.    The tropical orchid of the genus Vanilla (V. planifolia) is the source of the prized

flavor commonly known as vanilla, defined by law as “the total sapid and odorous principles

extractable from one-unit weight of vanilla beans.”19

        34.    Vanilla’s “desirable flavor attributes…make it one of the most common ingredients

used in the global marketplace, whether as a primary flavor, as a component of another flavor, or

for its desirable aroma qualities.”20

        35.    Though the Pure Food and Drugs Act of 1906 (“Pure Food Act”) was enacted to

“protect consumer health and prevent commercial fraud,” this was but one episode in the perpetual

struggle against those who have sought profit through sale of imitation and lower quality

commodities, dressed up as the genuine articles.21

        36.    It was evident that protecting consumers from fraudulent vanilla would be

challenging, as E. M. Chace, Assistant Chief of the Foods Division of the U.S. Department of

Agriculture’s Bureau of Chemistry, noted “There is at least three times as much vanilla consumed




19
   21 C.F.R. §169.3(c).
20
   Daphna Havkin-Frenkel, F.C. Bellanger, Eds., Handbook of Vanilla Science and Technology, Wiley, 2018.
21
   Berenstein, 412; some of the earliest recorded examples of food fraud include unscrupulous Roman merchants who
sweetened wine with lead.


                                                       7
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[in the United States] as all other flavors together.”22

        37.     This demand could not be met by the natural sources of vanilla, leading

manufacturers to devise clever, deceptive and dangerous methods to imitate vanilla’s flavor and

appearance.

        38.     Today, headlines tell a story of a resurgent global threat of “food fraud” – from olive

oil made from cottonseeds to the horsemeat scandal in the European Union.23

        39.     Though “food fraud” has no agreed-upon definition, its typologies encompass an

ever-expanding, often overlapping range of techniques with one common goal: giving consumers

less than what they bargained for.


     A. Food Fraud as Applied to Vanilla

        40.     Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.24

        41.     The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities in today’s interconnected world.25

        Type of Food Fraud                                       Application to Vanilla

 ➢ Addition of markers                   •    Manipulation of the carbon isotope ratios to produce



22
   E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.
23
   Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.
24
   Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
25
   Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.


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     specifically tested for                 synthetic vanillin with similar carbon isotope composition
     instead of natural                      to natural vanilla
     component of vanilla beans

                                        •    Ground vanilla beans and/or seeds to provide visual appeal
                                             as “specks” so consumer thinks the product contains real
                                             vanilla beans, when the ground beans have been exhausted
 ➢ Appearance of more and/or                 of flavor
     higher quality of the valued •          Caramel to darken the color of an imitation vanilla so it
     ingredient                              more closely resembles the hue of real vanilla26
                                        •    Annatto and turmeric extracts in dairy products purporting
                                             to be flavored with vanilla, which causes the color to better
                                             resemble the hue of rich, yellow butter

                                        •    Tonka beans, though similar in appearance to vanilla
 ➢ Substitution and
                                             beans, are banned from entry to the United States due to
     replacement of a high
                                             fraudulent use
     quality ingredient with
                                        •    Coumarin, a toxic phytochemical found in Tonka beans,
     alternate ingredient of
                                             added to imitation vanillas to increase vanilla flavor
     lower quality
                                             perception

 ➢ Addition of less expensive
                                        •    Synthetically produced ethyl vanillin, derived from
     substitute ingredient to
                                             recycled paper, tree bark or coal tar, to imitate taste of real
     mimic flavor of more
                                             vanilla
     valuable component

                                        •    “to mix flavor materials together at a special ratio in which
 ➢ Compounding, Diluting,                    they [sic] compliment each other to give the desirable
     Extending                               aroma and taste”27
                                        •    Combination with flavoring substances such as propenyl



26
   Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.
27
   Chee-Teck Tan, "Physical Chemistry in Flavor Products Preparation: An Overview" in Flavor Technology, ACS
Symposium Series, Vol. 610 1995. 1-17.


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                                             guaethol (“Vanitrope”), a “flavoring agent [, also]
                                             unconnected to vanilla beans or vanillin, but unmistakably
                                             producing the sensation of vanilla”28

                                         •   “Spiking” or “fortification” of vanilla through addition of
                                             natural and artificial flavors including vanillin, which
                                             simulates vanilla taste but obtained from tree bark

                                         •   Injection of vanilla beans with mercury, a poisonous
 ➢ Addition of fillers to give               substance, to raise the weight of vanilla beans, alleged in
      the impression there is                International Flavors and Fragrances (IFF), Inc. v. Day
      more of the product than               Pitney LLP and Robert G. Rose, 2005, Docket Number L-
      there actually is                      4486-09, Superior Court of New Jersey, Middlesex
                                             County.

                                         •   Subtle, yet deliberate misidentification and obfuscation of
                                             a product’s components and qualities as they appear on the
                                             ingredient list
                                              o “ground vanilla beans” gives impression it describes
                                                  unexhausted vanilla beans when actually it is devoid
                                                  of flavor and used for aesthetics
 ➢ Ingredient List Deception29                o “natural vanilla flavorings” – “-ing” as suffix referring
                                                  to something like that which is described
                                              o “Vanilla With Other Natural Flavors” – implying –
                                                  wrongly – such a product has a sufficient amount of
                                                  vanilla to characterize the food; often containing high
                                                  amount of vanillin, which must be disclosed as an
                                                  artificial flavor when paired with vanilla


     B. The Use of Vanillin to Simulate Vanilla



28
  Berenstein, 423.
29
  Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar.


                                                        10
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        42.    The most persistent challenger to the authenticity of real vanilla has been synthetic

versions of its main flavor component, vanillin.

        43.    First synthesized from non-vanilla sources by German chemists in the mid-1800s,

vanillin was the equivalent of steroids for vanilla flavor.

        44.    According to Skip Rosskam, a professor of vanilla at Penn State University and

former head of the David Michael flavor house in Philadelphia, “one ounce of vanillin is equal to

a full gallon of single-fold vanilla extract.”30

        45.    Today, only 1-2% of vanillin in commercial use is vanillin obtained from the vanilla

plant, which means that almost all vanillin has no connection to the vanilla bean.

        46.    Nevertheless, disclosure of this powerful ingredient has always been required where

a product purports to be flavored with vanilla. See Kansas State Board of Health, Bulletin, Vol. 7,

1911, p. 168 (cautioning consumers that flavor combinations such as “vanilla and vanillin…vanilla

flavor compound,” etc., are not “vanilla [extract] no matter what claims, explanations or formulas

are given on the label.”).

        47.    Since vanilla is the only flavor with its own standard of identity, its labeling is

controlled not by the general flavor regulations but by the standards for vanilla ingredients.

        48.    This means that if a product is represented as being characterized by vanilla yet also

contains non-vanilla vanillin, the label and packaging must declare the presence of vanillin and

identify it as an artificial flavor. See Vanilla-vanillin extract at 21 C.F.R. § 169.180(b) (“The

specified name of the food is "Vanilla-vanillin extract _-fold" or "_-fold vanilla-vanillin extract",

followed immediately by the statement "contains vanillin, an artificial flavor (or flavoring)".); see

also 21 C.F.R. § 169.181(b), § 169.182(b) (similar declarations required for Vanilla-vanillin


30
  Katy Severson, Imitation vs. Real Vanilla: Scientists Explain How Baking Affects Flavor, Huffington Post, May
21, 2019.


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flavoring and Vanilla-vanillin powder).

           49.    This prevents consumers from being misled by products which may taste similar to

real vanilla and but for consumer protection requirements, would be sold at the price of real vanilla.


       C. “Natural Vanillins” are Produced in a Non-Natural Manner

           50.    The past ten years have seen the introduction of vanillin ingredients that purport to

be a “natural flavor,” based on the raw material being a natural source and undergoing a natural

production process.

           51.    While vanillin can be made in an allegedly “natural” fermentation process from

ferulic acid, the cost is prohibitive for use in most applications.

           52.    When eugenol, from cloves are used to produce vanillin, it is subject to chemical

reactions and processes considered to be synthetic by the FDA.

           53.    These low-cost “natural vanillins” are produced by the ton in China, with little

transparency or verification, before being delivered to the flavor companies for blending.


       D. Vanilla “WONF” to Imitate Real Vanilla

           54.    The global shortage of vanilla beans has forced the flavor industry to “innovate[ing]

natural vanilla solutions…to protect our existing customers.”31

           55.    These “customers” do not include the impoverished vanilla farmers who are at the

mercy of global conglomerates nor consumers, who are sold products labeled as “vanilla” for the

same or higher prices than when those products contained only vanilla.

           56.    The flavor industry has reacted to the high vanilla prices with programs like the

“Sustainable Vanilla Initiative” and “Rainforest Alliance Certified.”



31
     Amanda Del Buouno, Ingredient Spotlight, Beverage Industry, Oct. 3, 2016.


                                                         12
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        57.     However, these initiatives have been silently questioned among the vanilla farmers

of Madagascar, where there have been whispers that contrary to seeking “sustainability” of vanilla,

the food and flavor conglomerates are actually working in the opposite direction.

        58.     This entails paying Madagascar vanilla farmers to destroy their vanilla crops instead

of taking the uncured beans to market.

        59.     Fewer vanilla beans means higher prices, which benefit the flavor industry because

products like vanilla extract have low margins – there is no advanced synthetic biology or

proprietary formula for this basic, yet essential ingredient.

        60.     While this conclusion is not directly stated, it is apparent from the comments of

industry executives.

        61.     According to Suzanne Johnson, vice president or research at a North Carolina

laboratory, “Many companies are trying to switch to natural vanilla with other natural flavors

[WONF] in order to keep a high-quality taste at a lower price.”

        62.     The head of “taste solutions” at Irish conglomerate Kerry, urged flavor

manufacturers must “[G]et creative” and “build a compounded vanilla flavor with other natural

flavors.”

        63.     These compounded flavors typically exist in a “black box” and “consist of as many

as 100 or more flavor ingredients,” blended together in a special ratio to complement and enhance

the vanilla component.32

        64.     A compounded vanilla flavor “that matches the taste of pure vanilla natural extracts”

can supposedly “provide the same vanilla taste expectation while requiring a smaller quantity of


32
  Hallagan and Drake, FEMA GRAS and U.S. Regulatory Authority: U.S. Flavor and Food Labeling Implications,
Perfumer & Flavorist, Oct. 25, 2018; Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley,
1985, p. 611 (describing the flavor industry’s goal to develop vanilla compound flavors “That Seem[s] to be Authentic
or at Least Derived from a Natural Source”) (emphasis added).


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vanilla beans. The result is a greater consistency in pricing, availability and quality.”33

          65.   That high level executives in the flavor industry are willing to openly boast of their

stratagems to give consumers less vanilla for the same price is not unexpected.

          66.   This is due in part to the once powerful and respected trade group for the flavor

industry, The Flavor and Extract Manufacturers Association (“FEMA”), abandoning its “self-

policing” of misleading vanilla labeling claims and disbanding its Vanilla Committee.

          67.   Though FEMA previously opposed efforts of industry to deceive consumers, it cast

the general public to the curb in pursuit of membership dues from its largest members.


III.      Ice Cream Flavor Labeling

          68.   Daphna Havkin-Frenkel, editor of the Handbook of Vanilla Science and Technology,

and a leading scholar and researcher on vanilla, summarized the flavoring requirements in the

context of ice cream flavored by vanilla:34

                    There are three categories of vanilla ice cream, as defined by the FDA
                    Standard of Identity. Vanilla ice cream Category I contains only vanilla
                    extract. Vanilla ice cream Category II contains vanilla made up of 1 oz
                    of synthetic vanillin per 1 gallon of 1-fold vanilla extract. Vanilla ice
                    cream Category III contains synthetic ingredients.

          69.   Carol McBride, U.S. vanilla category manager for global flavor giant Symrise, noted

these requirements and their effect on consumers: “If the flavor comes partially or fully from

another source, the company must stamp ‘vanilla flavored’ or ‘artificial vanilla’ on the front of the

package, a likely turnoff to consumers.”35


       A. Early Ice Cream Flavoring Debate is “Stirring”



33
   Donna Berry, Understanding the limitations of natural flavors, BakingBusiness.com, Jan. 16, 2018.
34
   Daphna Havkin-Frenkel and Faith C. Belanger, eds., Handbook of Vanilla Science and Technology, Wiley, 2018
(221).
35
   Melody M. Bomgardner, “The problem with vanilla,” Chemical & Engineering News, Sept. 12, 2016.


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       70.   Before formal regulations were enacted, Congressional Hearings from the 1930s

offered the legislature the opportunity to state their position on the non-misleading designation of

flavors on ice cream products.

       71.   Unsurprisingly, the starting point for the debate was how to label vanilla ice cream

flavored with added vanillin from clove oil, a natural source material.

       72.   Why, the industry, asked Congress, could they not label their products as “vanilla ice

cream” if it contained vanillin from sources other than vanilla beans?

       73.   In response, Congressmen E.A. Kenny of New Jersey and Virgil Chapman of

Kentucky inquired of ice cream’s representative, Mr. Schmidt:

       Mr. Kenney: Do you not think, though, Mr. Schmidt, that if you label it vanilla
                   ice cream, it ought to be vanilla; and if it is made with vanillin
                   extracted from oil of cloves, you ought to label it manufactured
                   with such vanillin?

       Mr. Schmidt: Well, we, of course, do not think so. That is why we are here
                    making our protest. We think, after all, the consuming public is
                    accustomed to accepting as vanilla artificial vanillas.

       Mr. Kenney: We agree that Barnum educated us along that line a long time ago.
                   (emphasis added)

       ……………

       Mr. Chapman: I do think that if it is chocolate it ought to be labeled “chocolate”;
                    and if it is flavored with vanillin made from oil of cloves, it ought
                    to be labeled to show that it is flavored with vanillin made from oil
                    of cloves; and if it is flavored with vanilla, it ought to be labeled
                    "vanilla"; and if it is " flavored with lemon, it ought to be labeled
                     lemon "; and if it is cherry, it ought to be labeled "cherry.”

       74.   Later in the hearing, Mr. Chapman and another industry representative engaged over

the proper declaration of flavor for ice cream:

               Mr. Chapman: Do you make raspberry?

               Mr. Hibben        Yes.




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                 Mr. Chapman        And you put that on the label?

                 Mr. Hibben         We say “raspberry ice cream.”

                 Mr. Chapman        And if it is peach, you put that on the label?

                 Mr. Hibben         It Is peach ice cream; yes.

                 Mr. Chapman And If you call it vanilla, what do you put on?

                 Mr. Hibben         We put "vanilla ice cream" on our labels. That Is what we
                                    want to continue to do. We want to put vanilla on those
                                    labels.

                 Mr. Chapman        But you say you put in It oil of cloves instead of vanilla.

                 Mr. Hibben         We do not use cloves. We use vanillin derived from the
                                    oil of cloves.

                 Mr. Chapman        If you put out strawberry ice-cream, you would not want
                                    to use raspberry to make it, would you?

                 Mr. Hibben         No; but we use vanillin, which is an ingredient of the
                                    vanilla bean and, its true to name.

                 Mr. Chapman        Is it an extract from the vanilla bean?

                 Mr. Hibben         It is both. It is taken both from the eugenol and the vanilla
                                    bean and is the same product. If you were a chemist you
                                    could not tell the difference, and if you were a doctor, you
                                    would say that one is just as harmless as the other.

                 Mr. Chapman        I do not object to buying artificial vanilla ice cream if it is
                                    pure, but if it is artificial. I would like to know what I am
                                    getting.36

        75.    Even before ice cream standards were established, Congress framed the central

question for ice cream flavoring as whether the flavor source was entirely derived from the

characterizing flavor – i.e., raspberry for raspberry ice cream, vanilla for vanilla ice cream.


     B. Ice Cream Flavoring Regulations


36
  One of the reasons for the emphasis on flavor derived from the characterizing flavor was ice cream’s status as a
high value, expensive product, made mainly from milk and cream. The use of ersatz flavoring lowered the quality of
an otherwise valued item.


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          76.   The ice cream standard of identity, 21 C.F.R. § 135.110, established in the early

1960s “provided for a system for designating characterizing flavors in ice cream which has come

to be referred to as the ‘3 category flavor labeling.’” Exhibit “A,” FDA, Taylor M. Quinn,

Associate Director for Compliance, Bureau of Foods, to Glenn P. Witte, International Association

of Ice Cream Manufacturers, May 31, 1979 (“Quinn Letter, May 31, 1979”).

          77.   The requirements “recognize[s] three distinct types of ice cream, based on the use of

natural and various combinations of natural and various combinations of natural and artificial

flavors that characterize this food.” Exhibit “A,” Quinn Letter, May 31, 1979; see 21 C.F.R. §

135.110(f)(2)(i)-(iii); 21 C.F.R. § 135.110(f)(3)-(5).

                             Vanilla Ice Cream Labeling Quick Chart
 Category                    Label Diagram                     Flavor Source          Authority
                                                                                     (21 C.F.R.)
 I              [“characterizing flavor”] + [“ice cream”] → Vanilla Beans        §135.110(f)(2)(i)
                “Vanilla Ice Cream” or “Strawberry Ice
                Cream”

 II             [“characterizing flavor”] + [“flavored”] + Vanilla Beans;        §135.110(f)(2)(ii)
                [“ice cream”] → “Vanilla Flavored Ice Non-Vanilla
                Cream” or “Peach Flavored Ice Cream”       Beans

 III            [“artificial” or “artificially flavored”] + Vanilla Beans;       §135.110(f)(2)(iii)
                [“characterizing flavor”] + [“ice cream”] → Non-Vanilla
                “Artificially Flavored Vanilla Ice Cream” or Beans
                “Artificially Flavored Strawberry Ice
                Cream”


          78.   The key distinction between labeling flavors in ice cream compared to other foods is

in the meaning of “natural flavor.”

          79.   In ice cream, “natural flavor” refers to flavor derived only from the characterizing

flavor, while “artificial flavor” refers to flavors derived from sources other than the characterizing

flavor.



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        80.   For a category 1 ice cream, which “contains no artificial flavor, the name on the

principal display panel or panels of the label shall be accompanied by the common or usual name

of the characterizing flavor, e.g., ‘vanilla,’ in letters not less than one-half the height of the letters

used in the words ‘ice cream.’” 21 C.F.R. §135.110(f)(2)(i); see Quinn Letter, May 31, 1979 (“the

designation of a characterizing flavor for category I ice cream is based on the premise that only

natural flavor derived from the product whose flavor is simulated may be used.”).

        81.   Categories 2 and 3 may contain a natural characterizing flavor and artificial flavor

simulating it, but differ based on whether the natural characterizing flavor predominates. See 21

C.F.R. §135.110(f)(2)(ii) (“Category II”) (“If the food contains both a natural characterizing flavor

and an artificial flavor simulating it, and if the natural flavor predominates”); 21 C.F.R.

§135.110(f)(2)(iii) (“Category 3”) (“If the food contains both a natural characterizing flavor and

an artificial flavor simulating it, and if the artificial flavor predominates”); Exhibit “A,” Quinn

Letter, May 31, 1979 (“The flavor designation for category II ice cream is on the basis that the

product contains both natural and artificial flavor, but the natural flavor predominates, whereas in

category III the artificial flavor predominates.”).

        82.   The non-vanilla flavor which simulates the natural characterizing vanilla flavor is

deemed to predominate when “the amount of vanillin used is greater than 1 ounce per unit of

vanilla constituent.” See 21 C.F.R. §135.110(f)(5)(i); Exhibit “B,” FDA, R.E. Newberry, Assistant

to the Director, Division of Regulatory Guidance, Bureau of Foods, to Daniel P. Thompson,

October 30, 1979 (“Newberry Letter, October 30, 1979”) (a non-vanilla flavor “is deemed to

simulate [resemble or reinforce] vanilla if the addition of the non-vanilla flavor results in a

reduction in the amount of vanilla bean derived flavor that would otherwise be used in a vanilla

flavored ice cream…such a product would come under category III and have to be labeled as




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‘artificial vanilla.’”).

           83.    The requirements – and resulting consumer expectations for almost fifty years – are

clear: “the flavor agent for vanilla ice cream (a category I product) is limited to vanilla bean and/or

flavor derived from vanilla beans.” Exhibit “A,” Quinn Letter, May 31, 1979; see also Exhibit

“C,” Summers Letter, April 10, 1979 (“A product identified as ‘Vanilla Ice Cream’ is subject to

the category 1 ice cream requirements and, therefore, must contain only the characterizing flavor

derived from vanilla beans,” “the standard for ice cream does not provide for the label designation

of “With other [natural] flavors” (WONF).”).


IV.        Flavoring Regulations for Ice Cream are Distinct from Other Foods

           84.    The flavor regulations for ice creams are separate from the general flavor regulations

for other foods. Compare 21 C.F.R. § 135.110(f)(2)-(5) with 21 C.F.R. § 101.22; Exhibit “A,”

Quinn Letter, May 31, 1979 (“The general flavor regulations are not applicable to this standardized

food.”).

           85.    The ice cream flavor designations were “established long before the development of

the general flavor regulations published under 21 CFR 101.22.” Exhibit “C,” FDA, J.L. Summers,

Assistant to the Director, Division of Regulatory Guidance, Bureau of Foods, April 10, 1979 to

David B. Daugherty              (“Summers Letter, April 10, 1979”) (“Consequently, the labeling

requirements for the declaration of flavors in the name of ice cream are specifically provided for

by the standard and is separate and apart from the general flavor regulations.”).37

           86.    Under 21 C.F.R. § 101.22(a)(3), “natural flavor” is defined generally as “the essential

oil, oleoresin, essence or extractive…which contains the flavoring constituents” from a natural

source such as plant material and can refer to combinations of natural flavors.


37
     Compare 21 C.F.R. § 135.110(f)(2)-(5) with 21 C.F.R. § 101.22.


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           87.    “Artificial flavor” in contrast is any substance whose function is to impart flavor that

is not derived from a natural source. See 21 C.F.R. § 101.22(a)(1).

           88.    For the purposes of designating the type of ice cream on the front label, whether a

flavor complies with the general definition of natural flavor in other regulations has no relevance.

Exhibit “C,” Summers Letter, April 10, 1979 (“A product identified as ‘Vanilla Ice Cream’ is

subject to the category I ice cream requirements and, therefore, must contain only the

characterizing flavor derived from vanilla beans.”); Exhibit “A,” Quinn Letter, May 31, 1979 (“It

is our understanding that there are available in the market place, natural flavoring compounds that

resemble, simulate and/or enhance vanilla flavor but are not derived from vanilla bean. These

flavor compounds would not comply with the intent of the flavor provisions of Category I ice

cream”).

           89.    This is because 21 C.F.R. § 135.110(f) “makes no provision for any natural flavors

other than natural characterizing flavors.” Exhibit “D,” Joseph Hile, Associate Commissioner for

Regulatory Affairs, February 9, 1983, Formal Advisory Opinion at p. 9 (“Hile Letter, February 9,

1983”) (“FDA must treat all natural flavors that simulate the characterizing flavor as artificial

flavors when deciding what name should appear on the principal display panel”).38

           90.    At best, “[N]atural flavors not derived from vanilla beans may be used in

combination with the standardized items included under 21 CFR 169 (vanilla-vanillin extract or

vanilla-vanillin flavoring) for category II vanilla flavored ice cream provided that the flavoring

contributed by or derived from the vanilla beans predominates” and they are fully disclosed as

same. Exhibit “E,” FDA, Quinn to Kenneth Basa, August 22, 1979 (“Quinn Letter, August 22,

1979”).



38
     21 C.F.R. § 135.110(f) was previously 21 C.F.R. § 135.110(e).


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V. The Products are Misleading Because they Contain Non-Vanilla Flavor and Vanilla Beans For

   Visual Purposes


       91.   “Vanilla Bean” and “Vanilla Bean Ice Cream” are understood by consumers to

identify a product where (1) vanilla is the characterizing flavor, (2) vanilla is contained in a

sufficient amount to flavor the product, (3) the flavor is derived from vanilla extract or vanilla

flavoring and unexhausted vanilla beans, (4) no other flavors simulate, resemble, reinforce, or

enhance flavoring from vanilla and (5) vanilla is the exclusive source of flavor.

       92.   The Products contain the term “Vanilla Bean” prominently on the front label, without

any qualification.


   A. Ingredient List Declaration of “Natural Flavor” Reveals Flavor is Not Exclusively Vanilla

       93.   The ingredient list reveals the Product is flavored by “Natural Flavor.”

                                          Ingredient List




         VANILLA ICE CREAM INGREDIENTS: Milk, Cream, Sugar, Corn
         Syrup, Whey, Nonfat Dry Milk, Stabilizer (Locust Bean Gum, Guar Gum),
         Natural Flavor, Ground Vanilla Beans.

       94.   Where a product is labeled as a type of, or containing, vanilla bean ice cream, without

any or adequate qualification, but the ingredient list identifies “natural flavor” in lieu of the

exclusively vanilla flavoring ingredients such as vanilla extract, it means (1) the flavoring is not

exclusively from vanilla, (2) the non-vanilla flavor may contain vanillin, not disclosed as an

artificial flavor when paired with vanilla, (3) the non-vanilla flavors simulate, resemble and


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reinforce the vanilla flavor and (4) the non-vanilla flavors allow the use of less real vanilla.

           95.     Had the Products flavoring derived exclusively from vanilla, the ingredient list would

declare the common or usual names of one or more of the exclusively vanilla ingredients, viz,

Vanilla Extract, Concentrated Vanilla Extract, Vanilla Flavoring and Concentrated Vanilla

Flavoring, and not declare any other flavor ingredient. See 21 C.F.R. §§ 169.175 to 169.178.

           96.     The exclusively vanilla ingredients – vanilla extract, vanilla flavoring, etc. – differ

only in that the former is at least thirty-five (35) percent ethyl alcohol while the latter is less than

this amount.39

           97.     Because ice cream is a standardized food and the vanilla ingredients are subject to

their own standards of identity, the designation of these vanilla ingredients is controlled by 21

U.S.C. §343(g) – they are required to be specifically declared:40

                    A food shall be deemed to be misbranded –

                    (g) Representation as to definition and standard of identity

                    If it purports to be or is represented as a food for which a definition and standard of
                    identity has been prescribed by regulations as provided by section 341 of this title,
                    unless (1) it conforms to such definition and standard, and (2) its label bears the
                    name of the food specified in the definition and standard, and, insofar as may be
                    required by such regulations, the common names of optional ingredients (other than
                    spices, flavoring, and coloring) present in such food.

VI.        Misleading Use and/or Description of (Ground) Vanilla Beans

           98.     After all flavor has been extracted from vanilla beans, the exhausted or spent beans

are typically discarded as a waste product containing no nutritive or flavoring value.

           99.     However, manufacturers and suppliers have devised multiple methods to re-use the

spent beans.




39
     21 C.F.R. §§ 169.175 (Vanilla extract.), 169.177 (Vanilla flavoring.); also concentrated versions of each of these.
40
     21 U.S.C. § 343(g)(2) read with 21 C.F.R. § 135.110(f)(2)(i) and 21 C.F.R. §§ 169.175 – 169.178.


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           100. The first method involves a drying, chopping and sining process before being added

to a product “strictly in a cosmetic manner, as they are flavorless.”41

           101. The second method involves infusing the exhausted beans with synthetic vanillin and

other flavoring substances prior to being incorporated into food.

           102. This tactic gives non-vanilla flavor to the spent beans, but unbeknownst to

consumers, it is not “real vanilla” flavor, as that had already been extracted.

           103. Several reasons support the conclusion that where a product name includes “vanilla

bean” with “ground vanilla beans” on the ingredient list, these are exhausted or spent vanilla beans.

           104. First, in a mass produced product, the inclusion of ground vanilla beans would result

in inconsistent flavoring from batch to batch.

           105. Second, the use of ground vanilla beans not devoid of flavor requires unique

equipment and processes.

           106. Only a handful of renowned, regional companies, such as Graeters of Ohio, possess

such capabilities.

           107. Third, the global scarcity of vanilla beans means that almost all beans are used for

vanilla extract, which has significantly more uses and is easier to sell.

           108. Fourth, the imbalance in use of real vanilla compared to demand for exhausted seeds

support the conclusion that spent seeds are being used in place of real vanilla.

           109. This gives the illusion a product contains real vanilla and allows a company to

disclose a “vanilla” ingredient on the ingredient list, which technically cannot be done since any

vanilla used is as a component of the “Natural Flavor.”

           110. Established supplier Cook’s Vanilla noted the “inordinate increase in demand for



41
     Chat Nielsen, Jr., The Story of Vanilla, p. 15.


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seeds, even while demand for pure vanilla extract has dropped,” reporting that over the last two

years, companies have requested:

                   thousands of pounds of vanilla bean seeds accompanying much smaller
                   orders for blended (Category II) vanillas made from both artificial and pure
                   extract.

                   The mismatch between demand for vanilla seeds and vanilla extract makes
                   it impossible to supply enough seeds. Since the seeds are a small by-product
                   of vanilla extract, and we cannot obtain them unless we buy (extremely
                   expensive) whole vanilla bean pods and make (extremely expensive) pure
                   vanilla extract from them.

                   Even the cheapest, lowest-grade vanilla bean pods cost more that $100 per
                   pound. So it unequivocally makes no sense to purchase vanilla bean pods
                   for the sole purpose of getting their seeds.

                   Which means that some of the seeds you see are not vanilla bean seeds at
                   all. Just as with pure vanilla extract, we suspect significant adulteration of
                   exhausted vanilla bean seeds in the industry.42

           111. Aust & Hachman, a vanilla importer in Montreal also observed that “demand for

exhausted or spent vanilla, (vanilla waste after extraction), and vanilla seeds sifted from this

material has exploded over the last 12 months” because the amount of actual vanilla has been at

low levels, in part due to climactic conditions.43

           112. Fifth, where an ingredient list contains a flavoring ingredient that contains some

vanilla which supplies flavor to a product, the use of “ground vanilla beans” merely makes

consumers think they are getting more vanilla.

           113. If a company is not willing to give consumers real vanilla extract or vanilla flavoring,

it is implausible they will include unexhausted vanilla beans.

           114. The use of the term “(ground) vanilla beans” is misleading because it fails to disclose

the beans are already devoid of flavor, i.e., “exhausted ground vanilla beans.”


42
     Cook’s Blog, Vanilla Bean Seeds: A Troubling New Trend, June 13, 2019.
43
     Aust & Hachman Canada, May 2019 Update.


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           115. Consumers will see “vanilla bean[s]” in the product name, images, descriptive text

and ingredient list and reasonably expect such products contain a greater amount and an additional

type or form of vanilla when it does not.

           116. The Product is misleading with respect to the identification of “ground vanilla beans”

on the ingredient list, their depiction in the front label images and in the name of the Product for

the above reasons.44

                      Front Label Image                                Vanilla Bean Specks




        VANILLA             ICE         CREAM
        INGREDIENTS: Milk, Cream, Sugar,
        Corn Syrup, Whey, Nonfat Dry Milk,
        Stabilizer (Locust Bean Gum, Guar Gum),
        Natural Flavor, Ground Vanilla Beans.

VII. Products are Misleading Because They are Labeled and Named Similar to Other Products


           117. Competitor ice cream products are labeled as or containing vanilla beans, and are not

misleading because they contain non-exhausted vanilla beans.


       A. Vanilla Bean Ice Cream Product of Competitor and Defendant

           118. The following are Vanilla Bean Ice Cream products of defendant and a competitor.




44
     Cook’s Blog, Vanilla Bean Seeds: A Troubling New Trend, June 13, 2019.


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               Competitor Product                                    Product

        Madagascar Vanilla Bean Ice Cream                    Vanilla Bean Ice Cream




                                                 VANILLA ICE CREAM INGREDIENTS:
 INGREDIENTS: CREAM, MILK, CANE
                                                 Milk, Cream, Sugar, Corn Syrup, Whey,
 SUGAR, SKIM MILK, EGGS, VANILLA
                                                 Nonfat Dry Milk, Stabilizer (Locust Bean Gum,
 BEAN, VANILLA EXTRACT, CAROB
                                                 Guar Gum), Natural Flavor, Ground Vanilla
 BEAN GUM, GUAR GUM.
                                                 Beans.

         119. The competitor product lists “Vanilla Bean” and “Vanilla Extract” on its ingredient

list.

         120. The competitor product identifies “Vanilla Bean” and “Vanilla Extract,” and the

listing of vanilla bean is truthful and non-misleading because the manufacturer has disclosed its

unique specialized methods for including non-exhausted vanilla beans.


VIII.      Conclusion



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        121. The proportion of the characterizing components, vanilla and vanilla beans, have a

material bearing on price or consumer acceptance of the Products because they are more expensive

and desired by consumers.

        122. The Products are misleading because they do not contain the amount, type and

percentage of vanilla and vanilla beans as a component of the flavoring in the ice cream, which is

required and consistent with consumer expectations.

        123. Had plaintiff and class members known the truth, they would not have bought the

Product or would have paid less for it.

        124. The Product contains other representations which are misleading and deceptive.

        125. As a result of the false and misleading labeling, the Product is sold at a premium

price, approximately no less than $6.99 per 9 FL OZ, excluding tax – compared to other similar

products represented in a non-misleading way.

                                      Jurisdiction and Venue


        126. Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act

of 2005 or “CAFA”).

        127. Under CAFA, district courts have “original federal jurisdiction over class actions

involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

        128. Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

        129. This is a reasonable assumption because defendant’s Product is sold in thousands of

stores across all 50 states.

        130. Plaintiff Dawn Louis is a citizen of New York.



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        131. Defendant The Mochi Ice Cream Company is a California corporation with a

principal place of business in Vernon, Los Angeles County, California.

        132. This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to supply and supplies goods within New York.

        133. Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and State.

        134. A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                 Parties

        135. Plaintiff Dawn Louis is a citizen of Bronx County, New York.

        136. Defendant is a California corporation with a principal place of business in Vernon,

Los Angeles County, California.

        137. During the class period, plaintiff purchased one or more of the Products identified

herein, in his or her district and/or state, for personal use, consumption or application based on the

above representations, for no less than the price indicated, supra, excluding tax,

        138. Plaintiff would consider purchasing the Product again if there were assurances that

the Product’s representations were no longer misleading.

                                         Class Allegations


        139. The classes will consist of all consumers in New York and the other 49 states and a

nationwide class where applicable.

        140. Common questions of law or fact predominate and include whether the

representations were likely to deceive reasonable consumers and if plaintiff and class members are

entitled to damages.



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       141. Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same representations.

       142. Plaintiff is an adequate representative because his or her interests do not conflict with

other members.

       143. No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       144. Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest.

       145. Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       146. Plaintiff seeks class-wide injunctive relief because the practices continue.

                          New York General Business Law (“GBL”) §§ 349 & 350

       147. Plaintiff asserts causes of action under the consumer protection statutes of New York,

General Business Law (“GBL”) §§ 349 & 350.

       148. Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       149. Plaintiff and class members desired to purchase products which were as described

by defendant and expected by reasonable consumers, given the product type.

       150. Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       151. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products contain sufficient amounts of the

highlighted ingredients, vanilla and vanilla beans, to characterize the taste or flavor of the Products.

                                         Negligent Misrepresentation


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       152. Plaintiff incorporates by reference all preceding paragraphs.

       153. Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products through misrepresenting the amount, quantity and/or

proportion of the flavoring ingredient.

       154. Defendant had a duty to disclose and/or provide non-deceptive labeling of the

Product and its components and ingredients, and knew or should have known same were false or

misleading.

       155. This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product or

service type.

       156. The representations took advantage of consumers’ (1) cognitive shortcuts made at

the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

       157. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Products.

       158. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

              Breaches of Express Warranty, Implied Warranty of Merchantability and
                    Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       159. Plaintiff incorporates by reference all preceding paragraphs.

       160. Defendant manufactures and sells products which purport to contain sufficient

amounts of the highlighted ingredients, vanilla and vanilla beans, to characterize the taste or flavor

of the Products, which is desired by consumers.

       161. The Products warranted to Plaintiff and class members that they possessed



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substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

other attributes which they did not due to the presence or absence of the aforementioned ingredient.

       162. Defendant had a duty to disclose and/or provide a non-deceptive description and

identification of the Product and its ingredients.

       163. This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

       164. Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers and their employees.

       165. The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and were not merchantable.

       166. Plaintiff and class members relied on defendant’s claims, paying more than they

would have.

                                               Fraud


       167. Plaintiff incorporates by references all preceding paragraphs.

       168. Defendant’s purpose was to sell a product which purported to contain valuable and

desired characterizing ingredients and/or flavors, and represent the Products were exclusively

flavored by the designated ingredients and contained sufficient independent amounts of same.

       169. Defendant’s fraudulent intent is evinced by its failure to accurately indicate the

Products contained less of the desired ingredients or none at all.

       170. Plaintiff and class members observed and relied on defendant’s claims, causing them

to pay more than they would have, entitling them to damages.

                                           Unjust Enrichment

       171. Plaintiff incorporates by reference all preceding paragraphs.



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       172. Defendant obtained benefits and monies because the Product were not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                   Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and undersigned

       as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove and/or refrain from the challenged representations, restitution

       and disgorgement for members of the State Subclasses pursuant to the consumer protection

       laws of their States;

   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

       to the common law and consumer protection law claims, and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: December 8, 2019
                                                                Respectfully submitted,

                                                                Sheehan & Associates, P.C.
                                                                /s/Spencer Sheehan
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1:19-cv-11242
United States District Court
Southern District of New York

Dawn Louis, individually and on behalf of all others similarly situated,


                                         Plaintiff,


        - against -


The Mochi Ice Cream Company,
                                         Defendant




                                   Class Action Complaint




                          Sheehan & Associates, P.C.
                           505 Northern Blvd., #311
                             Great Neck, NY 11021
                              Tel: (516) 303-0552
                              Fax: (516) 234-7800




Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: December 8, 2019
                                                                           /s/ Spencer Sheehan
                                                                            Spencer Sheehan
